

Board of Mgrs. of the St. Tropez Condominium v JMA Consultants, Inc. (2021 NY Slip Op 00520)





Board of Mgrs. of the St. Tropez Condominium v JMA Consultants, Inc.


2021 NY Slip Op 00520


Decided on February 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2021

Before: Renwick, J.P., Webber, González, Scarpulla, JJ. 


Index No. 656079/18 Appeal No. 13015 Case No. 2019-04302 

[*1]Board of Managers of the St. Tropez Condominium, Plaintiff-Respondent,
vJMA Consultants, Inc. Doing Business as JMA of New Jersey in New York et al., Defendants-Appellants, Eugene Ferrara et al., Defendants.


Stevens &amp; Lee, P.C., New York (Salvatore A. Giampiccolo and John N. Visconi of counsel), for appellants.
Armstrong Teasdale LLP, New York (Thomas V. Juneau, Jr. of counsel), for respondent.



Order, Supreme Court, New York County (Andrew Borrok, J.), entered October 1, 2019, which, to the extent appealed from as limited by the briefs, denied defendants JMA Consultants, Inc. d/b/a JMA of New Jersey in New York, JMA Consultants, Inc. d/b/a JMA of New Jersey, and JMA Consultants and Engineers, P.C.'s motion to dismiss the negligence causes of action as against them, unanimously reversed, on the law, with costs, and the motion granted.
As both the breach of contract and the negligence claims allege the same underlying facts and seek the same damages, the complaint fails to allege an independent negligence claim, regardless of whether any failure by defendants to perform carefully could have had abrupt or catastrophic consequences (see Dormitory Auth. of the State of N.Y. v Samson Constr. Co., 30 NY3d 704, 711-713 [2018]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2021








